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 ;i I   I i n t h i S n t O r rrI a t i O n t O i d e n t f y y o u r case and this filing
                         i                          i




Debtor 1                     Joel                              Darren                                 Plasco
                             FIrst Name                       Mkldb Name                        Last Nam•

Debtor 2
(Spouse. if filing) FIrst Name                                Mkidlo Name                       Last Name


United States BankruptcyCourt for the:                                      District of

Case number 25-10684-Jpm
                                                                                                                                                                   D Check if this is an
                                                                                                                                                                     amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                             12/15

In each category, separately list and descrIbe Items. List an asset only once. If an asset fIts in more than one categorY, IIst the asset in the
category where you thInk it fits best. Be as complete and accurate as possIble. If two marrIed people are fIIIng together, both are equally
responsIble for supplyIng correct Information. If more space is needed, attach a separate sheet to thIs form. On the toP of any addItIonal pages,
write your name and case number (if known). Answer every questIon.


liE                           cribe Each Residence' BuildIng' Land' or Other Real Estate You Own or Have an Interest in

1. Do you own or have any legal or equitable Interest in any residence, buildIng, land, or sImIlar propertY?
                                                                                                                                                                                               U




        a        No. Go to Part 2
        O Yes. Where is the property?
                                                                                          What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                                          O    Single-family home                            the amount of any secured claims on Sch8dul8 O.
                                                                                                                                             Cr8ditors Who Have Claims Secured by Property.
            1.1.                                                                          a    Duplex or multi-unit building
                     r               ess, if available, or other description
                                                                                          D   Condominium or cooperative                     Current value of the      Current value of the
                                                                                          Q    Manufactured or mobile home                   entire property?          portIon you own?
                                                                                          O Land
                                                                                          D    Investment pronerty

                                                          State      ZIP Code
                                                                                          O Timeshare                                        DescrIbe the nature of your ownershIP
                                                                                                                                             Interest (such as fee sImple, tenancy by
                     City
                                                                                          D Other                                            the entlretles, or a IIfe estate), if known.
                                                                                          Who has an Interest in the property? Check one.
                                                                                          a   Debtor 1 only

                     County                                                               Q Debtor 2 only
                                                                                                                                             O Check if this is community property
                                                                                          D Debtor 1 and Debtor 2 only
                                                                                                                                                 (see instructions)
                                                                                          Q At least one of the debtors and another
                                                                                          Other Information you wish to add about this Item. such as local
                                                                                          property IdentifIcatIon number:
        If you own or have more than one, list here:
                                                                                      What is the property?          Check all that apply.    Do not deduct securedclaims or exemptions. Put
                                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                      O Single-family home
                                                                                                                                             Creditors Who Have ClaIms Secured by Property.
            1   ,2                                                                    a       Duplex or multi-unit building
                     vailable,                          or other description
                                                                                      D Condominium or cooperative                           Current value of the Current value of the
                                                                                      O Manufacturedor mobite home                           entIre property?          portion you own?
                                                                                      O Land
                                                                                      D       Investment property
                                                                                                                                             DescrIbe the nature of your ownership
                                                          State       ZIP Code
                                                                                      D Timeshare                                            Interest (such as fee sImple, tenancy by
                     City
                                                                                      O Other                                                the entlretles, or a life estate), if known.
                                                                                      Who has an Interest in the property? Check one.
                                                                                      D Debtor 1 only
                                                                                      D Debtor 2 only
                     County
                                                                                      O Debtor 1 and Debtor 2 only                           D Check if this is cornrnunity property
                                                                                      O At least one of the debtors and another                  (see instructions)

                                                                                      Other InformatIon you wish to add about thIs Item, such as local
                                                                                      property identifIcation number:


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                                                  Darren
                                                                      Pg 2 of 21
 Debtor 1          Joel
                                  MkJdl• Name
                                                                                   Plasc                       Case number url,nw„}25-10684-jpm
                    8                                     Last Name




                                                                      What is the property?      Check all that anoly       Do not deduct secured claims or exemptions. Put
     1.3                                                              a    Single-family home                               the amount of any secured claims on Schedule D.'
                                                                                                                            Creditors Who Have Claims Secured by Prvp8rty.
            Street address, if available, or other description        a    Duplex or mutti-unit building
                                                                      a   Condominium or cooperative                            Current value of the       Current value of the
                                                                      a   Manufacturedor mobile home                            entIre property?           portIon you own?
                                                                      a Land
                                                                      D   Investment property
            City                            State      ZIP Code       a Timeshare                                           DescrIbe the nature of your ownershIp
                                                                      Q Other                                               Interest (such as fee sImple, tenancy by
                                                                                                                            the entlretles, or a IIfe estate), if known.
                                                                      Who has an Interest in the property? Check o„e.
                                                                      D Debtor I only
            County
                                                                      a Debtor 2 only
                                                                      O Debtor 1 and Debto, 2 ,.ly                          O Check if this is community property
                                                                      D At least one of the debtors and anoth,r               (see instructions)

                                                                      Other InformatIon you wIsh to add about thIs item, such as local
                                                                      property IdentIficatIon number:


2. Add the dollar value of the portIon you own for all of your entrIes from Part 1, IncludIng any entrIes for pages
   you have attached for Part 1. WrIte that number here. .....,................................................................................+




lilIED
Do you own, lease, or have legal or equItable interest in any vehIcles, whether they are regIstered or not? Inctude any vehicles
you own that someone else drives. If you lease a vehicle. also report it on Schedule G.' Exocutory Contracts and Unoxpirod Leases,

3. Cars, vans, trucks, tractors, sport utIlity vehIcles, motorcycles
   a No
   O Yes

            Make:                                                     Who has an Interest in the property? Check one.       Do not deduct securedclaims or exemptions. Put
    3.1 .
                                                                                                                            the amount of any securedclaims on Schedule O.'
            Model                                                     D Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                      D Debtor 2 only
            Year:                                                                                                           Current value of the       Current value of the
                                                                      a Debtor 1 and Debtor 2 only
            Approximate mileage:                                      a At least one of the debtors and another
                                                                                                                            entire property?           portion you own?

            Other information
                                                                                                                                                       $


                                                                      O Check if thIs is community property (see            $




                                                                          instructions)



   If you own or have more than one. describe here:

    3.2. Make:                                                        Who has an interest in the property? Check one.        Do not deduct securedclaims or exemptions. Put
                                                                                                                            the amount of any securedclaims on Schedule D:
            Model                                                     a Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                      D Debtor 2 o„ly
            Year:                                                                                                           Current value of the       Current value of the
                                                                      O Debtor 1 and Debtor 2 only
                                                                                                                            entIre property?           portIon you own?
            Approximate mileage:                                      D At least one of the debtors and another
            Other information:
                                                                      D Check if this is community property (see            $                          $

                                                                          instructions)




 Official Form 106A/B                                                 Schedule A/B: Property                                                                     page 2
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                       r            Mddlo N8rn8        Last Name
                                                                                                                               Case number   (if known)            25-10684-jpm




       3.3.    Make:                                               Who has an interest in the property? Check one                                          Do not deduct securedclaims or exemptions. Put
                                                                                                                                                          tho amount of any secured claIms on Sch8dulo D.'
               Model                                               D Debtor 1 only                                                                        Creditors Who Have Claims Secured by Property.
                                                                   D Debtor 2 only
               Year:
                                                                   O Debtor 1 and Debtor 2 only                                                           Current value of the              Current value of the
               Approximate mileage:                                                                                                                       entIre property?                  portIon you own?
                                                                   D At least one of the debtors and another
               Other information:
                                                                    D Check if thIs is communIty property (see
                                                                                                                                                          $                                 $




                                                                         instructions)


      3.4.     Make                                                Who has an Interest in the property? Check one                                      Do not deduct secur6d claims or exemptions. Put
                                                                                                                                                      the amount of any secured claims on Schedule D.'
               Model                                               O Debtor 1 only
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                   D Debtor 2 only
               Year:                                                                                                                                  Current value of the              Current value of the
                                                                   O Debtor 1 and Debto, 2 only
               Approximate mileage:                                O At least one of the debtors and another
                                                                                                                                                      entIre property?                  portIon you own?
               Other information

                                                                   D Check if thIs is communIty property (see
                                                                                                                                                      $                                 $




                                                                         instructions)




4    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels. snowmobiles, motorcycle accessories
     O No
     O Yes

      4.1.     Make:                                               Who has an interest in the property? Check one.                                Do not deduct securedclaims or exemptions. Put
                                                                                                                                                  the amount of any secured claims on Schedule D.
               Model                                               O Oebto, I o.ly                                                                Creditors Who Have Claims Secured by Property.
                                                                   a Debtor 2 ,.ly
               Year
                                                                   O Debtor 1 and Debt„ 2 only                                                    Current value of the              Current value of the
               Other information                                   D At least one of the debtors and another                                      entIre property?                  portIon you own?

                                                                   D Check if thIs is communIty property (see                                         $                             $




                                                                        instructions)



     If you own or have more than one, list here:

      4.2.     Make:                                               Who has an Interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put
                                                                                                                                                  the amount of any secured claims on Schedule D,
               Model :                                             D Debtor 1 only                                                                Creditors Who Have Claims Secured by Property.
                                                                   D Debtor 2 only
               Year:                                                                                                                              Current value of the              Current value of the
                                                                   O Debtor 1 and Debtor 2 only
               Other information:                                                                                                                 entIre property?                  portion you own?
                                                                   D At least one of the debtors and another

                                                                                                                                                  $                                 $


                                                                   O Check if thIs is communIty property (see
                                                                        instructiOns)




5. Add the dollar value of the portIon you own for all of your entries from Part 2, IncludIng any entrIes for pages
     you have attached for Part 2. WrIte that number           here ........................................................




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                                                                                     Pg 4 of 21
         Debtor 1         Joel                                      Plasco                               Case number (ir kr„w„)_   25-10684-jpm
                        Flr8t Name          Mkldto Name           Last Name




B                   D e 8 G r 1b e Y o u r P e r $ o n a 1 a n d H o u s e h o 1d   1 t e ms

                                                                                                                                           Current value of the
    Do you own or have any legal or equItable Interest in any of the followIng items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured claims
                                                                                                                                           or exemptions.

    6      Household goods and furnIshIngs
           Examples-. Major appliances, furniture, linens, china, kitchenware
           © No
           O Yes. Describe
                                                                                                                                           : $_
    7.     Electronics
           Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                     collections; electronic devices including cell phones. cameras, media players, games
           D No
           a Yes. Describe                      Apple Watch Ultra, MacBook Pro 16" 2023                                                        $       1 ,200

    8 Collectibles of value
           Examples.' Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp. coin, or baseball card collections; other collections, memorabilia, collectibles
           n  No                                                                                                                           i
           D Yes. Describe                                                                                                                 I$
                                        I



    9,    EquIpment for sports and hobbIes
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                    and kayaks; carpentry tools; musical instruments
           O No
           U Yes. Describe..------.: Gary Fisher Mountain Bike, 1 Yamaha acoustic guitar                                                   i$          500

    10. Firearms

          Examples: Pistols, rines, shotguns, ammunition, and related equipment
           © No
           D Yes. Describe..........'                                                                                                              $




    11 . Clothes

          Examples: Everyday clothes, furs. leather coats, designer wear, shoes, accessories
           O No
           a Yes. Describe.......... jeans, shirts, polo shirts, shoes                                                                             $ 1,500
    12. Jewelry

           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                     gold , silver
           D No
           D yes. Describe.                  wedding ring - various non-valuable watches                                                       $       500

    13. Non.farm animals

           Examples: Dogs, cats, birds, horses
           O No
           a Yes. Describe..--.......3yr old miniature golden doodle                                                                           $




    14. Any other personal and household items you dId not already list, including any health aIds you dId not IIst

           a No
           D Yes. Give specific
             information.

    15. Add the dollar value of all of your entrIes from Part 3, Including any entries for pages you have attached
        for Part 3. WrIte that number here .......................



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                   FIrst N8me        MkJdle Name          L8st Name                            Case number (ir knOW„)_     25-10684-jpm



Part 4:      De$eribe Your FInancIal Assets

Do you own or have any legal or equitable Interest in any of the followIng?                                                        Current value of the
                                                                                                                                   portIon you own?
                                                                                                                                   Do not deduct securedclaims
                                                                                                                                   or exemptions

16. Cash

   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   a No
   O Yes ....................................                                                                  Cash :               $



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution. list each
   O No
   a   Yes .....................                                       1nstitution name:


                                     17.1. Checking account:                                                                                $




                                    17.2. Checking account:                                                                             $




                                    17.3. Savings account:                                                                              $




                                    17.4. Savings account:                                                                              $




                                    17.5. Certificates of deposit:                                                                      $




                                    17.6. Other financial account:        Revolut                                                       $
                                                                                                                                                2,100
                                    17.7. Other financial account:
                                                                           Chime                                                                1 ,710
                                                                                                                                        $




                                    17.8. Other financial account:                                                                      $




                                    17.9. Other financial account:                                                                      $




18. Bonds, mutual funds, or publicly traded stocks

  Examples: Bond funds. investment accounts with brokerage firms, money market accounts
   D No
   D yes ________.                  Institution or issuer name,

                                                                                                                                        $




                                                                                                                                        $




                                                                                                                                        $




19. Nonnpubllcly traded stock and Interests in Incorporated and unIncorporated busInesses, IncludIng an interest in
   an LLC, partnership, and joInt venture
   D No                             Name of entity:                                                            % of ownership:
   D Yes. Give specific                                                                                                    0/o          $


       information about
       them....,                                                                                                           0/0          $




                                                                                                                           0/0      $




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                                                                                                   Case number (if known)   25-10684-jpm
                 r              MUdlo Nome                Last Nemo




20. Government and corporate bonds and other negotiable and non.negotIable Instruments
    Negotiable instruments include personal checks, cashier$' checks1 promissory notes, and money orders
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    a No
    D Yes. Give specific        Issuer name
      information about
       them........                                                                                                                              $




                                                                                                                                                 $




                                                                                                                                                 $




21. RetIrement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401 (k). 403(b), thrift savings accounts, or other pension or profit-sharing plans
    B No
    O Yes. List each
      account separately.       Type of account:            Institution name:

                                401(k) or similar plan:                                                                                          $




                                Pension plan:                                                                                                    $




                                IRA:                                                                                                             $




                                Retirement account:                                                                                              $




                                Keogh:                                                                                                           $




                                Additional account:                                                                                          $




                                Additional account:                                                                                          $




22, SecurIty deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric. gas, water), telecommunications
   companies. or others

   a No
   D Yes .......                                      Institution name or individual:

                                Electric:                                                                                                $




                                Gas:                                                                                                     $




                                Heating oil:                                                                                             $




                                Security deposit on rental unit:                                                                         $




                                Prepaid rent:                                                                                            $




                               Telephone:                                                                                                $




                               Water:
                                                                                                                                         $




                                Rented furniture:                                                                                        $




                               Other:
                                                                                                                                         $




23. Annuities   (A contract for a periodic payment of money to you, either for life or for a number of years)

   U No
   a Yes .......................... 1ssuer name and description:
                                                                                                                                     $




                                                                                                                                     $




                                                                                                                                     $




Official Form 106A/B                                                  Schedule A/B: Property                                                         page 6
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                                Darren                   Plasco
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               FIrst Name        MIddle Nam•             Last Name




24. Interests in an education IRA. in an account in a quaIIfied ABLE program. or under a qualified state tuitIon program.
   26 U.S.C. §§ 530(b)(1), 529A(b). and 529(b)(1 ).
   a No
   O Yes -------„'„-'„„'-„-„'             Institution name and des,riptior,. S,p,,ably file tho records of any interests,11 U.S.C. § 521(cy

                                                                                                                                                              $




                                                                                                                                                          $




                                                                                                                                                          $




25. Trusts, equitable or future Interests in property (other than anythIng listed in line 1), and rIghts or powers
   exercIsable for your benefit
   a No
   O Yes. Give specific
     information about them....       ;
                                                                                                                                                      $




26. Patents, copyrIghts, trademarks, trade secrets, and other Intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   m No
   O Yes. Give specific                                                                                                                           I




       information about them                                                                                                                         $




                                                                                                                                                  I

27. Licenses, franchIses, and other general IntangIble$
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   a No
   O Yes. Give specific
       information about them.                                                                                                                        $




Money or property owed to You?                                                                                                                            Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

   m No
   D Yes. Give specific information                                                                                    Federal :              $




            about them, including whether
            you already filed the returns                                                                              State:                 $




            and the tax years. .......................
                                                                                                                       Local:                 $




29. FamIly support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   a No
   D Yes. Give specific information.....,.-..... ;
                                                                                                                     Alimony:                             $




                                                                                                                      Maintenance:                        $




                                                                                                                     Support:                             $




                                                                                                                      Divorce settlement:                 $




                                                                                                                      Property settlement:                $




30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits. sick pay. vacation pay, workers’ compensationl
              Social Security benefits; unpaid loans you made to someone else
   a No
   O Yes. Give specific information.
                                                                                                                                                          S




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                           Joel             Darren                       Plasco          Pg 8 of 21
                          r                 c                             Last Nemo                               Case number      (#known)_   25- 1 0684-jpm



31. Interests in insurance policIes
    Examples: Healthl disabilitYl or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
    a No
                                                                                                                                                                        Surrender or refund value:
    IIIIIIIII Y e s • Ifa:::   : hioi =yu iTITs   ? Ft: : : InI   p p p n 1C o rnp any   name :                     Ben en cia W   :




                                                                                                                                                                        $




                                                                                                                                                                        $




                                                                                                                                                                        $




32. Any Interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy. or are currently enutled to receive
    property because someone has died.
    a No
    O Yes. Give specific information.............. :
                                                                                                                                                            ;           $.




33. Claims agaInst third partIes, whether or not you have fIled a lawsuIt or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
    a No
    O Yes. Describe each claim. .______„__.
                                                                                                                                                                    $




34. Other contIngent and unliquldated claims of every nature, includIng counterclalms of the debtor and rights
   to set off claIms
   a No
    a     yes. Describe each claim




35. Any fInancIal assets you did not already list

   m No
   O Yes. Give specific information............
                                                                                                                                                                $




36. Add the dollar value of all of your entrIes from Part 4, includIng any entries for pages you have attached
    for Part 4. WrIte that number here __________________„„________________________..___________.._______________. +                                                         3,810




BIa                  Describe Any Business-Related Property You Own or Have an Interest in' List any real estate in Part IB

37. Do you own or have any legal or equitable Interest in any business-related property?
   m No. Go t, Part 6
   O Yes. Go to line 38
                                                                                                                                                            Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                        or exemptions

38. Accounts receivable or commIssIons                            you already earned
   D No
   D Yes. Describe..__
                                                                                                                                                        $




39. OffIce equIpment, furnIshIngs, and suppIIes
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs. telephones, desks. chairs. electronic devices
   O No
   D     Yes, Describe,__..,                                                                                                                            $




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                                                             Darren
                                                                                 Pg 9 of 21
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                      FIrst Name           MIddle Name                  LaN Name




40. MachInery, fixtures, equIpment, suppIIes you use in business, and tools of your trade

     a No
     D     Yes. Describe.......1                                                                                                                                                                   I


                                                                                                                                                                                                   $




41 . Inventory
     D No
     D Yes. Describe                                                                                                                                                                               $




42. Interests in partnershIps or joInt ventures
     D No
     O Yes. Describe....... Name of entity:                                                                                                                         % of ownership:
                                                                                                                                                                                 0/0
                                                                                                                                                                                                   $




                                                                                                                                                                                 0/0               $




                                                                                                                                                                                 0/0               $




43. Customer IIsts, mailing IIsts, or other compIlatIons
     D No
     O Yes. Do your IIsts Include personally IdentIfIable Information (as defined in 11 U.S.C. § 101 (41 A))?
                  a No
                  D yes. Describe.__
                                                                                                                                                                                                           $




                                                                                                                                                                                               I


44. Any business.related property you did not already IIst
     D No
     []   Yes. Give specific                                                                                                                                                                               $



          information ........ .
                                                                                                                                                                                                       $




                                                                                                                                                                                                           $




                                                                                                                                                                                                       $




                                                                                                                                                                                                       $




45. Add the dollar value of all of your entrIes from Part 5, IncludIng any entrIes for pages you have attached
    for Part 5. Write that number here .............................................-................-............-....................'.........................................„'...'...-+




a                 :7: : r::1: :::rnIra: ===1::::::t IFfTri::::1, E:Tr:lin;iIi
                         :1



46. Do you own or have any legal or equitable interest in any farm' or commercial fIshIng'related property?
     B No. Go to Part 7
                                                                                                             jed Propody You Own or Have an Interest n'




     O yes. Go to line 47,
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portIon you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm anImals
    Examples: Livestock, poultry. farm-raised fish
     n No
     D Yes
                                     I
                                     I
                                                                                                                                                                                               }$

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  Debtor 1         Joel                                Darren                Pg 10 of 21
                                                                            Plasc
                      S                   MHdle Name       Ln•t Name                     Case number WI,,„r,) 25-10684-jpm



 48. Crops–eIther growIng or harvested

     D No
     O Yes. Give specific =
          information. _____..
                                                                                                                                                                                  $




 49. Farm and fIshing equipment, Implements,                machInery, fIxtures, and tools of trade
     a No
     a Yes ....
                                                                                                                                                                                  $




 50. Farm and fishing supplies, chemicals, and feed
     O No
     O   Yes ........,......,,......,..




 51. Any farm' and commercIal fIshing-related property you did not already list
     O No
     O Yes. Give specific
         information. .........


52. Add the dollar value of all of your entries from Part 6, IncludIng any entrIes for pages you have attached
    for Part 6. Write that number here _..__„.______.___,__._.„__________......__________________________________..____. +




Ea               Describe All Property You Own or Have an Interest in That You Did Not List Above

53, Do you have other property of any kInd you did not already list?
    Examples: Season tickets, country club membership

    a No
     O Yes. Give specific
                                                                                                                                                                                      $




         information . ........                                                                                                                                                       $




                                                                                                                                                                                      $




                                                                                               Text
54. Add the dollar value of all of your entrIes from Part 7. Write that number here




U
55. Part 1: Total real estate, IIne 2 ....                                                                                                                               +
56. Part 2: Total vehIcles. IIne 5                                                         $
                                                                                                                      0

57. Part 3: Total personal and household Items, IIne 15                                    $
                                                                                                                3700

                                                                                                                3810
58. Part 4: Total fInancial assets. IIne 36                                                $




                                                                                                                      0
59. Part 5: Total busIness-related property, IIne 45                                       $




                                                                                                                      0
60. Part 6: Total farm- and fIshIng-related property, IIne 52                              $




                                                                                                                      0
61. Part 7: Total other property not IIsted, line 54                                      +$
                                                                                      I
62. Total personal property. Add lines 56 through 61. .........                            $
                                                                                                           = 7 151>1C)IO 1 C o P y P e r s o n a 1 P ro P e R y   to ta 1 +   +   $       7500


                                                                                                                                                                                          7500
63. Total of all property on Schedule A/B. Add line 55 + line 62........................,..................................




 Official Form 106A/B                                                 Schedul                  Pro
                                                                                                     h©l®TFtt
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                                             Darren                    Plasco
                                             MIddle Name               Last N8me




  United States Bankruptcy Court for the               District of

  Case numbor        25-10684-jpm                                                                                                         D Check if this is an
     (if known)
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known),

For each item of property you claIm as exempt, you must specify the amount of the exemptIon you claIm. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory IImit. Some exemptlonbsuch as those for health aids, rights to receive certain benefIts, and taxqxempt
retirement fundbmay bo unIImIted in dollar amount. However, if you claim an exemptIon of 100% of faIr market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determIned to exceed that amount, your exemption
would be IImIted to the appIIcable statutory amount.




 1. Which set of exemptIons are you claIming? Check one only, even if your spouse is filing wAh you.
         D You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         D You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2     For any property you IIst on Schedule 4/B that you claIm as exempt, fIll in the InformatIon below.


         BrIef descrIptIon of the property and IIne on     Current value of the    Amount of the exemptIon you claIm          Specific laws that allow exemptIon
         Schedule AfB that lists this property             portIon you own
                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule A/B


                                                               $1500               Q $ 1500
         ULnption: dQbe!
                                                                                   D 100% of fair market value, up to
         y=f:bId:IF: A/B:   11                                                       any applicable statutory limit

        Brief
        description:
                                                           $
                                                                                   0$
        Line from                                                                  D 100% of fair market value, up to
        Schedule A/B.                                                                any applicable statutory limit

        Brief
        description:
                                                           $                       D$
        Line from                                                                  D 100% of fair market value, up to
        Schedule A/B.                                                                any applicable statutory limit


 3,     Are you claIming a homestead exemption of more than $214,000?
        (Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.)
        O No
        a    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             a     No
             D Yes

Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                           page 1 of
           25-10684-jpm                   Doc 16     Filed 04/22/25 Entered 04/22/25 15:55:54                               Main Document
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Debtor 1      Joel                         Darren                  Plasco                      Case number (,rk,,„„)25-10684-Jpm
              FIrst N8m©    MIddle Name        L8st Nemo




E     Brief descrIption of the property and IIne       Current value .of the   Amount of the exemptIon you claIm       Specific laws that allow exemptIon
      on Schedule AfB that IIsts thIs property         portIon WU own
                                                       Copy the value frQm     Check only one box for each exemption
                                                       Schedule A/B

     Brief
     description:
                                                           $
                                                                               O$
     Line from                                                                 D 100% of fair market value, up to
     Schedule ;VB                                                                any applicable statutory limit

     Brief
     description :
                                                       $                       O$
     Line from                                                                 O 100% of fair market value. up to
     Schedule A/B,                                                               any applicable statutory limit


     Brief
     description :
                                                       $
                                                                               a$
     Line from                                                                 O 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:
                                                       $
                                                                               a$
     Line from                                                                 Q 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:
                                                       $                       D$
     Line from                                                                 D 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit


     Brief
     description:
                                                       $
                                                                               0$
     Line from                                                                 D 100% of fair market value, up to
     Schedule /VB:                                                               any applicable statutory limit

     Brief
     description
                                                       $
                                                                               Ds
     Line from                                                                 D 100% of fair market value, up to
     Schedule A/B.                                                               any applicable statutory limit

     Brief
     description   :
                                                       $
                                                                               D$
                                                                               Q 100% or fair marKet value, up to
     Line from
     Schedule A/B.                                                               any applicable statutory limit


     Brief
     description:
                                                       $
                                                                               O$
                                                                               a   100% of fair market value, up to
     Line from
     Schedule A/B,                                                                 any applicable statutory limit

     Brief
     description:
                                                       $
                                                                               a$
     Line from                                                                 a   100% of fair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit

     Brief
     description:
                                                       $
                                                                               O$
     Line from                                                                 D 100% of fair market value, up to
     Schedule A/B.                                                               any applicable statutory limit


     Brief
     description:
                                                       $                       Us
                                                                               D 100% of fair market value, up to
     Line from
     6oheaule AfB.                                                               any appIIcable 8tatutory lirnit



Official Form 106C                                   Schedule C: The Pro lrty You ClaIm as Exempt
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  Debtor 1             Joel                         Darren                       Plasco
                         FIrst N8me                 MIddle Name                  Last Nemo

  Debtor 2
                                                    MIddleName                   Last Name
  (   Spouse,Kfillng) FIrst Nemo

  United $tate3 BankruptcyCourt for the:                          District of

  Case number            25-10684-jpm
   (if known)                                                                                                                                   D Check if this is an
                                                                                                                                                  amended filing


  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15


  informatIo;l. If more space is nedded, copy the AddItIonal Page, fill it ou i, number the entrIes, and attach it to thIs form. On the toP of anY
  additIonal pages, write your name and case number (if known).

 1. Do any creditors have claims secured by your property?
        B No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form
        O yes. Fill in all of the information below.


                     LIst All Seeured ClaIms
                                                                                                                             Column A   Column B              Column C
 2. LIst all secured claIms. If a creditor has more than one secured claim. list the creditor separateIY Amount of claIm                Value of collateral   Unsecured
    for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the             that supports thl8    portion
                                                                                                          value of collateral.           claIm                If any
    As much as possible, list the claims in alphabetical order according to the creditor's name.

E21                                                           Describe the property that seeure8 the claIm:                  $




            CredItor's Name


            Number            Street

                                                             As of the date you file, the claIm Is: Check all that appIY
                                                              O Contingent
                                                              Q UnliquidatBd
            City                       State   ZIP Code
                                                              O Disputed
      Who owes the debt? Check one.                           Nature of lien. Check all that apply
      D Debtor 1 only                                         a An agreement you made (such as mortga9a or sacur8d
      a Debtor 2 only                                                car loan)
       D Debtor 1 and Debtor 2 only                           D Statutory lien (such as tax lien, mechanic’s lion)
       a At least one of the debtors and another              a Judgment lien from a lawsuit
                                                              D Other (including a right to offset)
       [] check if thIs claim relates to a
          community debt
       Date debt was incurred                                 Last 4 digits of account number
1 2.21                                                        Describe the property that secures the claIm:                      $




            Creditor’s Name


            Mmbor             Str88t

                                                              As of the date you file, the claIm Is: Check all that apply.
                                                              D Contingent
                                                              O Unltquidated
                                       State   ZIP Cod8
            City                                              O Disputed
       Who owes the debt? Check one.                          Nature of IIen. Check all that apply
       a Debtor 1 only                                        0 An agreement you made (such as mortgage or secured
       0 Debtor 2 only                                          car loan)
       D Debtor 1 and Debtor 2 only                           a Statutory lien (such as tax lien, mechanic's Ilan)
       a At least one of the debtors and another              D Judgment lion from a lawsuit
                                                              D Other (includinga right to offset)
       D Check if thIs claIm relates to a
          community debt
       Date debt was Incurred                                 Last 4 dIgits of account number
             Add the dollar value of your entrIes in Column A on this page. WrIte that number here:

   Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of
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  Debtor 1           Joel                          Darren                    Plasco                               Case number (#Mown) 25-1 0684-Jpm
                      FIrst Name    Mkld18 N8mo          Last Name



F,-’::            AddItional Page                                                                                                                                            Column C
 Part I:                                                                                                                        Amount of claIm        Value of collateral   Unsecured
                  After IIstIng any entrIes on thIs page, number them beginning wIth 2.3, followed                              Do not deduct the      that supports thl8          ion
                  by 2.4, and so forth.                                                                                         value of collateral.   claIm                 If any

                                                         De$crlb8 the property that secures the claim
         Creditor's Nam8




                                                        As of the date you file, the claIm Is: Check all that apply.
                                                         D Contingent
       City                         State    ZIP Code    D Unliquidated
                                                         El Disputed
   Who owes the debt? Check one.                        Nature of IIen. Check all that apply,
   a       Debtor 1 only                                Q    An agreement you made (such as mortgage or secured
   O Debtor 2 only                                           car loan)
   D       Debtor 1 and Debtor 2 only                   O    Statutory lien (such as tax lien. mechanicS lion)
   O At least one of the debtors and another            D    Judgment Ibn from a lawsuit
                                                        D    Other (including a right to offset)
   a      Check if this claIm relates to a
          community debt

   Date debt was incurred                               Last 4 digits of account number

n      Creditor's Nam8
                                                        DescrIbe the property that secures the claIm:                       $




       Number              Str08t

                                                        As of the date you file, the claIm Is: Check all that apply.
                                                        D Contingent
                                                        D Unliquidated
       City                         State    ZIP Code
                                                        D Disputed
   Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
   O Debtor 1 only
                                                        D    An agreement you made (such as mortgage or socured
   O Debtor 2 only                                           car loan)
   a Debtor 1 and Debtor 2 only                         D    Statutory lion (such as tax lien, mechanic's lion)
   D At least one oF the debtors and another            a    Judgment lien from a lawsuit
                                                        O    Other (includinga right to offset)
   [] Check if this claim relates to a
      communIty debt

   Date debt was Incurred                               Last 4 digit8 of account number

a      CredItor's Name
                                                        Describe the property that secures the claIm:                   $




       Number              Street


                                                        As of the date you file, the claIm Is: Check all that apply.
                                                        a Contingent
       CIty                         State    ZIP Code   O Unliquidated
                                                        a Disputed
   Who owes the debt? Check one.                        Nature of lion. Check all that apply.
   O Debtor 1 only                                      D An agreement you made (such as mortgage or secured
   a Debtor 2 only                                           car loan)
   a Debtor 1 and Debtor 2 only                         a    Statutory lion (such as tax IIen, mechanic's tien)
   D At least one of the debtors and another            a Judgment lien from a lawsuit
                                                        D Other (includinga right to offset)
   O Check if this claIm relates to a
     communIty debt
   Date debt was Incurred                               Last 4 digits of account number

              Add the dollar value of your entrIes in Column A on thIs page. WrIte that number here:
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:
  Official Form 106D                        Additional Page of Schedule D: CredItors Who Have ClaIms Secured by Property                                            page      of
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                                                                  Pg 15 of 21
Debtor   1    JOel                       Darren                 Plasco                         Case number IIrR„,W„). 25-1   0684-J   pm
              FIrst Name    MUdle Name          Last Name



BBL
  Use thIs page only if you have others to be notIfied about your bankruptcy for a debt that you already listed in Part I. For example, if a collectIon
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then IIst the collection agency here. Similarly, if
 You have more than one creditor for anY of the debts that you listed in Part 1, Hst the additional credItors hon. If you do not have addItional persons to
 be notIfIed for any debts in Part 1, do not fill out or submIt thIs page.


E    Name
                                                                                          On whIch IIne in Part 1 dId you enter the credItor?

                                                                                          Last 4 digit8 of account number


     Number        Street




     City                                          State          ZIP Code

                                                                                          On which IIne in Part 1 did you enter the creditor?

     Name                                                                                 Last 4 dIgIts of account number


     Number        Street




     City                                          State          ZIP Code


H                                                                                        On whIch IIne in Part 1 dId you enter the creditor?
     Name                                                                                Last 4 dIgIts of account number


     Number        Street




     City                                          State          ZIP Code


E    Name
                                                                                         On whIch line in Part 1 dId you enter the credItor?

                                                                                         Last 4 digIts of account number


     Number        Street




     City                                          State          ZIP Code


U                                                                                        On whIch IIne in Part I dId you enter the creditor?

     Name                                                                                Last 4 digIts of account number


     Number        Street




     City                                          State          ZIP Code


E                                                                                        On whIch line in Part 1 did you enter the creditor?

     Name                                                                                Last 4 digits of account number


     Number        Street




                                                                  ZIP Code



Official Form 106D                       Part 2 of Schedule D: CredItors Who Have ClaIms Secured by Property                                page      of
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  Debtor           Joel                              Darren                         Plasco
                     FIrst Name                    Mlddl© Nam8                 Last Name

  Debtor 2
  (Spouse if fIIIng) Flat Name                     MIddleName                  Last Name


  United States BankruptcyCourt for the:                         District of

  Case number        25-10684-jpm
  (if known)                                                                                                                               O Check if this is an
                                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

Be as complete and accurate as possIble. If two marrIed people are fIIIng together, both are equally responsIble for supplyIng correct
InformatIon. If more space is needed, copy the addItIonal page, fIll it out, number the entrIes, and attach it to this page. On the top of any
additional pages, wrIte your name and case number (if known).

 1. Do you have any executory contracts or unexplred leases?
      D No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form
      a Yes. Fill in all of the infomation below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106A/B),

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases



      Person or company wIth whom you have the contract or lease                                 State what the contract or lease is for

2.1                                                                                          3 lines under contract numbers
      Verizon Wireless Bankruptcy Administration
      Name                                                                                   1768804701, 1376601471 and 1376602518
      500 Technology Drive, Suite 550
      Number           Street

      Weldon Spring                   MO                63304
      City                                 State        ZIP Code

2.2
      Name


      Number           Street


      City                                 State        ZIP Code
2.3

      Name


      Number          Street


      City                                 State        ZIP Code

2.4

      Name


      Number          Street


      City                                 State       ZIP Code

2.5
      Name


      Number          Street


      City                             State           ZIP Code


Official Form 1066                             Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of
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                                                                Pg 17 of 21
  ””” ' Ja                                                             co              '„„ ,,„„, „„„W„
                 AddItIonal Page if You Have More Contraets or Leases

       Person or company wIth whom you have the contract or lease                   What the contract or lease is for

  22
        Name


        Number        Street


        City                       State       ZIP Code

  2.

        Name


        Number       Street


       City                        State       ZIP Code


  2

       Name


       Number        Street


       City                        State      ZIP Code


  2

       Name


       Number        Street


       City                        State      ZIP Code


  2

       Name


       Number        Street


                                   State      ZIP Code

  2

       Name


       Number        Street


       City                        State      ZIP Code

  2.

       Name


       Number        Street


       City                       State       ZIP Code


  2

       Name


       Number        Street


       City                       State       ZIP Code

                                                                      & dh.M&if

Official Form 106G                         Schedule G: Executory Contracts and Unoxpired Leases                           page
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  Debtor 1          Joel                     Darren                              Plasco
                     FIrst N8mo             MIddleName                    Last Name

 Debtor 2
 (Spous8. if filing) FIrst Name             MIddle Name                   Last N8me


 United States BankruptcyCourt for the:                   District of

 Case number          25-10684-jprn                                                                        Check if this is:
  (if known)
                                                                                                           D An amended filing
                                                                                                           D A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
Official Form 1061                                                                                               MM / DD / YYW

Schedule 1: Your Income                                                                                                                                12/1 5

Be as complete and accurate as possIble. If two married people are fiIIng together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct informatIon. If you are marrIed and not fIIIng joIntly, and your spouse is IIvIng wIth you, Include Information about your spouse.
If you are separated and your spouse is not fiIIng wIth you, do not Include InformatIon about your spouse. If more space is needed, attach a
separate sheet to thIs form. On the top of any addItional pages, write your name and case number (if known). Answer every question.


1AI
1. FIll in your employment                                                      Debtor 1
    InformatIon.                                                                                                           Debtor 2 or non.fIIIng spouse

     If you have more than one job,
    attach a separate page with
    information about additional          Employment status                  D Employed                                    D Employed
    employers,                                                               a Not employed                                D Not employed

    Include part-time, seasonal. or
    self-employed work.                                                    n/a
                                          Occupation
    Occupation may include student
    or homemaker, if it applies.
                                          Employer’s name                  n/a

                                          Employer’s address               n/a
                                                                            Number Street                                Number    Street




                                                                            City              State   ZIP Code           City                State ZIP Code

                                          How long employed there?




    Estimate monthly income as of the date you fIle thIs form. If you have nothing to report for any line, write SO in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-fIIIng spouse
 2. List monthly gross wages, salary, and commIssIons (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                                    0
                                                                                              2'      $                        $




 3. EstImate and IIst monthly overtIme pay.                                                   3. +$                0     +$

 4. Calculate gross Income, Add line 2 + line 3.                                              4




Official Form 1061                                                      Schedule 1: Your Income                                                    page 1
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                     si            tion to identify your cas

   Debtor 1               JOel                            Darren                                          Plasco
                           FIrst Nemo                 MIddleName                                Last Name                        Check if this is;
   Debtor 2
   (Spouse. if fIIIng) FIrst Name                     MIddle N8m8                               Last Name                        O An amended filing
                                                                                                                                 O A supplement showing postpetition chapter 13
   United States BankruptcyCourt for the:                            District of
                                                                                                                                     expenses as of the following date:
   Case number            25-10684-Ipm                                                                                               MM / DD / WW
       (if known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                                               12/15

 Be as complete and accurate as possIble. If two marrIed people are fIIIng togeth8r, both are equally responsIble for supplyIng correct
 InformatIon. If more space is needed, attach another sheet to thIs form. On the top of any addItIonal pages, wrIte your name and case number
 (if known). Answer every questIon.


1a
 1. Is thIs a joInt case?
       d     No. Go to line 2
       D yes. Does Debtor 2 live in a separate household?
                     O No
                     D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.W A ann
                                                      ===Hl•aUP qP           P•   PHb   •   •   aIn P +                                     Ub   enV WIn




2 Do you have dependents?                           O No                                                      Depondont'8 relatIonship to                  Dep8ndent's         Does dependent IIve
  Do not list Debtor 1 and                                Yes. Fill out this information for                  Debtor 1 or Debtor 2                         ago                 wIth you?
  Debtor 2.                                               each dependent....,
                                                                                                              Wife                                         44                  a No
       Do not state the dependents'
       rlarrles.
                                                                                                                                                                               a Yes
                                                                                                              Daughter
                                                                                                                                                                               O No
                                                                                                                                                           13
                                                                                                                                                                               d Yes
                                                                                                              Daughter                                     a                   D No
                                                                                                                                                                               g Yes
                                                                                                                                                                               D No
                                                                                                                                                                               D Yes
                                                                                                                                                                               O No
                                                                                                                                                                               E] Yes

 3. Do your expenses Include
    expenses of people other than
                                                    O No
    yourself and your dependants?
                                                    D Yes
 ;IF                  EstImate Your OngoIng Monthly Expon8e8

 Mate      your expenses as of your bankruptcy fIIIng date unless you are usIng thIs form 38 a supplement in a Chaptor 13 case to report
 expenses as of a date after the bankruptcy is fIled. If thIs is a supplemental Schedule J, check the box at the toP of the form and fIll in the
 applicable date.
 Include expenses paId for wIth non€ash government assIstance if you know the value of
 such assIstance and have included it on Schedule 1: Your Income (OffIcIal Form I061.)                                                                              Your expenses

  4. The rental or home ownershIp expenses for your resIdence. Include first mortgage payments and                                                                                  24500
     any rent for the ground or lot
           If not Included in line 4:
           4a.   Real estate taxes                                                                                                                4a.           $




                                                                                                                                                  4b.
           4b.   Property, homeownefs, or renter's insurance                                                                                                    $




           4c.   Home maintenance, repair. and upkeep expenses                                                                                    4c.           $




           4d.      Hom60wnQr’s a$$ocialion or condominium dues                                                                                   4d            $




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  Debtor   1        Joel                         Darren                  Plasco             Case number (#how,) 25-1      0684-J            pm
                    FIrst Name   MkJdle Name        Last Name




                                                                                                                                      Your expenses

  5, AdditIonal mortgage payments for your resIdence, such as home equity loans                                 5                     $

  6    UtIlitIes:

       6a. Electricity, heat, natural gas                                                                       6a                $
                                                                                                                                                       500

       6b. Water, sewer, garbage collection                                                                     6b                $




       6c. Telephone, cell phone, Internet, satellite, and cable services                                       6c.               $                    750
       6d. Other. Specify:                                                                                     6d                 $




  7. Food and housekeepIng suppIIes                                                                            7.                 $
                                                                                                                                                      2500

  8.   ChIldcare and chIldren’s educatIon costs                                                                8.                 $




  9    ClothIng, laundry, and dry cleanIng                                                                     9,                 $




10.    Personal care products and servIces                                                                      10                $
                                                                                                                                                       200

11     MedIcal and dental expenses                                                                              11.               $
                                                                                                                                                       500

12.    TransportatIon. Include gas, maintenance, bus or train fare.                                                                                    300
                                                                                                                                  $



       Do not include car payments.                                                                            12.

13     EntertaInment, clubs, recreation, newspapers, magazines, and books                                      13.            $




14     CharItable contributIons and reIIgIous donatIons                                                        14.            $




15     Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                     15a.           $

       15b. Health insurance                                                                                   r5b.           $
       15c. Vehicle insurance                                                                                  15c. S                                  285

       15d. Other insurance. Specify:                                                                          15d.           $


16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20
       Specify:                                                                                                16.            $

17.    Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                         17a            $




       17b. Car payments for Vehicle 2                                                                         17b.           $




       17c. Other. Specify:                                                                                    17c            $




       17d. Other. Specify:                                                                                    17d.           $




18.    Your payments of aIImony, maIntenance, and support that you dId not report as deducted from
                                                                                                                 18.
       your pay on IIne 5, Schedule 4 Your Income (OffIcIal Form 1061).                                                   $




19. Other payments you make to support others who do not live wIth you.
       Specify:                                                                                                 19        $




20. Other real property expenses not included in IInes 4 or 5 of thIs form or on Schedule it Your Income.

       20a. Mortgages on other property                                                                        20a.       $




       20b. Real estate taxes                                                                                  20b.       $




       20c. Property, homeowner's, or renter's insurance                                                       20c.       $




       20d. MaIntenance, repair, and upkeep expenses                                                           20d.       $




       20e. Homeowner's association or condominium dues                                                        208    .   $




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 Debtor 1     Joel                          Darren                     Plasco                 Case number (irl„,„,} 25-1   0684-jpm
               FIrst Name    Mkldb Name         Last N•me




21. Other. Specify:                                                                                               21. +$

22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                               22a            $
                                                                                                                                           29535

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.

     22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c        $
                                                                                                                                           29535



23. Calculate your monthly net Income.

   23a. Copy line 12 Lyour combined monthly income) from Schedule I.                                            23a

   23b. Copy your monthly expenses from line 22c above.                                                         23b. _$                   29535

   236. Subtract your monthly expenses from your monthly income.
        The result is your monthly not Income.                                                                  23c.




24. Do you expect an increase or decrease in your expenses wIthIn the year after you fIle thIs form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

    O No
    a yes.      Explain here: currently in negotiations for a job'




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                               $
